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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK

In re:                                          )   Hearing Date: October 3, 2023 at 1:00 pm ET
                                                )
The Roman Catholic Diocese of                   )   Hearing Location: Alexander Pirnie
Ogdensburg, New York,                           )   U.S. Courthouse and Federal Building
                                                )   10 Broad Street, Utica, New York
                                 Debtor.        )
                                                )   Case No. 23-60507 (PGR)
                                                )
                                                )   Chapter 11


              STATEMENT OF THE OFFICIAL COMMITTEE OF UNSECURED
          CREDITORS REGARDING MOVING INSURERS’ MOTION FOR ENTRY OF
            AN ORDER PURSUANT TO BANKRUPTCY RULE 2004 AUTHORIZING
          MOVING INSURERS TO ISSUE SUBPOENAS TO THE DEBTOR FOR BASIC
          INFORMATION ESSENTIAL TO MEDIATION THAT HAS BEEN PROVIDED
              TO INDIVIDUAL PLAINTIFF LAWYERS AND THE COMMITTEE

         The Official Committee of Unsecured Creditors (the “Committee”) of The Roman Catholic

Diocese of Ogdensburg, New York (the “Diocese” or the “Debtor”) in the above-captioned case (the

“Case”) under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”), by and

through its undersigned proposed counsel, hereby submits this Statement Regarding Moving Insurers’

Motion for Entry of an Order Pursuant to Bankruptcy Rule 2004 Authorizing Moving Insurers to Issue

Subpoenas to the Debtor for Basic Information Essential to Mediation That Has Been Provided to

Individual Plaintiff Lawyers and the Committee [Docket 138] (the “Motion”).1 In support of its

Statement, the Committee respectfully states as follows:

                                                         STATEMENT

          1.       The Moving Insurers ask this Court to enter the proposed order attached as Exhibit A



1
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion. The Motion is
supported by the Declaration of Adam Haberkorn [Docket 140] (the “Declaration”), a Notice of Motion [Docket 141] (the
“Notice”) and an Application for Order Shortening Time [Docket 142] (the “Application”). Pursuant to the Notice, the
original hearing date was set for November 7, 2023 at 1:00 p.m.with responses due by October 31, 2023. On September 27,
                                                          1
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 to the Motion (the “Proposed Order”) authorizing the Moving Insurers to serve their First Request

 for Production in the form attached as Exhibit B to the Motion (the “Subpoena”) on the Debtor, and

 compelling the Debtor to produce:

                a) The complaints filed in state or federal court actions against the Diocese or any of the

                    Parishes, Catholic Ministry Entities, and/or Other Catholic Entities that assert claims

                    arising from allegations of injury from sexual abuse (the “Complaints”);

                b) A list of all the case numbers associated with the Complaints requested per request (a)

                    above (the “List”);

                c) The same Documents that the Diocese or any of the Parishes, Catholic Ministry

                    Entities, and/or Other Catholic Entities has produced or subsequently produces to the

                    Committee, together with whatever Documents and/or Communications were

                    exchanged with the Committee that describe the Committee’s requests pursuant to

                    which the Documents were produced (the “Committee Documents”);

                d) The Document discovery and transcripts of the depositions given in (a) John Doe v.

                    New York State Catholic Conference; Diocese of Ogdensburg; Immaculate Heart

                    Central High School; and John Does (New York Sup. Ct. Onondaga Co., Index No.

                    009183/2019), (b) Anonymous GF v. Diocese of Ogdensburg et al. (New York Sup.

                    Ct. Clinton Co., Index No. 2020-20390), and (c) such other actions where claims were

                    asserted against the Diocese arising from allegations of injury from sexual abuse (the

                    “CVA Discovery”). See Exhibit B at 6. The Complaints, the List, the Committee

                    Documents, the CVA Discovery and any other information produced to the Moving

                    Insurers are collectively referred to as, the “Documents”.


2023, the Court granted the Application and set the hearing on the Motion for October 3, 2023 at 1:00 p.m., with a responses
due by October 2, 2023 at 12:00 p.m. [Docket 145].
                                                             2
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          2.       The Committee takes no position on the relief requested in the Motion,2 provided that:

                a) the Proposed Order provides that the production of Documents pursuant to the

                    Subpoena shall be subject to a confidentiality agreement or protective order in a form

                    acceptable to the Committee that protects the personal identifying information of the

                    Plaintiffs and other survivors of sexual abuse (“Survivors”) (including, without

                    limitation, the name, address, social security number, date of birth, telephone

                    number(s) and email address(es) of such persons),3 and

                b) the Debtor produces to the Committee all the Documents it produces to the Moving

                    Insurers pursuant to the Subpoena or otherwise as and when it produces the

                    Documents to the Moving Insurers.




2
 The basis for the Moving Insurers’ Motion (and the urgency) is related to the Debtor’s Motion for Order Referring Certain
Matters to Mediation (the “Mediation Motion”) filed in this chapter 11 case [Docket 44] and in the adversary proceeding
[Docket No. 5] styled Diocese of Ogdensburg et al v. Certain Underwriters of Lloyds of London et al (ADV 23-80013) (the
“Insurance Adversary”). On September 26, 2023, the Committee filed its response (the “Response”) to the Mediation
Motion in the main case [Docket 127] and in the Insurance Adversary [Docket 19]. Nothing in this Statement alters the
Committee’s Response to the Mediation Motion.

3
  The Moving Insurers state that they “have no objections to conditioning such production on the parties entering into a
mutually acceptable confidentiality agreement and/or entry of a standard form protective order by the Court.” See Motion at ¶
¶ 19, 36. However, the Proposed Order contains no such condition.
                                                             3
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Dated: New York, New York
       September 29, 2023

                                       PACHULSKI STANG ZIEHL & JONES LLP


                                       /s/ Ilan D. Scharf
                                       James I. Stang, Esq. (admitted pro hac vice)
                                       Ilan D. Scharf, Esq.
                                       Karen B. Dine, Esq.
                                       780 Third Avenue, 34th Floor
                                       New York, NY 10017-2024
                                       Telephone: (212) 561-7700
                                       Facsimile: (212) 561-7777
                                       Email: jstang@pszjlaw.com
                                       Email: ischarf@pszjlaw.com
                                       Email: kdine@pszjlaw.com

                                       Proposed Counsel for the Official Committee of
                                       Unsecured Creditors of The Roman Catholic Diocese of
                                       Ogdensburg, New York




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